            Case 21-30975-sgj11                     Doc 1     Filed 05/26/21 Entered 05/26/21 08:21:36                         Desc Main
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 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________  District of _________________
     Northern District of Texas          (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                                Chapter 7
                                                             
                                                             ✔   Chapter 11
                                                                Chapter 12
                                                                Chapter 13                                                Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Christopher
                                        __________________________________________________           __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or          Lee
                                        __________________________________________________           __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Weatherford
                                        __________________________________________________           __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names.




3.    Only the last 4 digits of                           4    5    7    9
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
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Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name   Middle Name               Last Name




                                           About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                          
                                           ✔ I have not used any business names or EINs.                      I have not used any business names or EINs.
     Identification Numbers
     (EIN) you have used in                _________________________________________________                 _________________________________________________
     the last 8 years                      Business name                                                     Business name

     Include trade names and
                                           _________________________________________________                 _________________________________________________
     doing business as names               Business name                                                     Business name



                                           _________________________________________________                 _________________________________________________
                                           EIN                                                               EIN

                                           _________________________________________________                 _________________________________________________

                                           EIN                                                               EIN



5.   Where you live                                                                                          If Debtor 2 lives at a different address:


                                           1213 Warbler Dr                                                   _________________________________________________
                                           _________________________________________________
                                           Number     Street                                                 Number     Street


                                           _________________________________________________                 _________________________________________________


                                           Forney                                  TX
                                           _________________________________________________
                                                                                             75126           _________________________________________________
                                           City                            State   ZIP Code                  City                            State   ZIP Code

                                           Kaufman County                                                    _________________________________________________
                                           _________________________________________________
                                           County                                                            County


                                           If your mailing address is different from the one                 If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send             yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                       any notices to this mailing address.


                                           _________________________________________________                 _________________________________________________
                                           Number     Street                                                 Number     Street

                                           _________________________________________________                 _________________________________________________
                                           P.O. Box                                                          P.O. Box

                                           _________________________________________________                 _________________________________________________
                                           City                            State   ZIP Code                  City                            State   ZIP Code




6.   Why you are choosing                  Check one:                                                        Check one:
     this district to file for
     bankruptcy                            
                                           ✔ Over the last 180 days before filing this petition, I            Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other           have lived in this district longer than in any other
                                                 district.                                                      district.

                                            I have another reason. Explain.                                  I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)




     Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                      page 2
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 Debtor 1         _______________________________________________________                            Case number (if known)_____________________________________
                  First Name   Middle Name             Last Name




 Pa rt 2 :     T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.    The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
       Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       are choosing to file
       under
                                              Chapter 7
                                             
                                             ✔ Chapter 11


                                              Chapter 12
                                              Chapter 13

 8.    How you will pay the fee              
                                             ✔
                                               I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                                local court for more details about how you may pay. Typically, if you are paying the fee
                                                yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                                submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                with a pre-printed address.

                                              I need to pay the fee in installments. If you choose this option, sign and attach the
                                                Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                              I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                less than 150% of the official poverty line that applies to your family size and you are unable to
                                                pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.     Have you filed for         
                                  ✔ No
       bankruptcy within the
       last 8 years?               Yes.        District ____________________________________________ When ______________ Case number __________________


                                                District ____________________________________________ When ______________ Case number __________________


                                                District ____________________________________________ When ______________ Case number __________________




 10.   Are any bankruptcy              ✔ No
       cases pending or being
       filed by a spouse who is         Yes.
       not filing this case with
       you, or by a business
       partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
       affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                  Debtor _________________________________________________                         R elationship to you ___________________________

                                  District _______________________________________________ When _______________ Case number, if known__________________


11.    Do you rent your                      
                                             ✔ No.    Go to line 12.
       residence?                             Yes.   Has your landlord obtained an eviction judgment against you?


                                                          No. Go to line 12.
                                                          Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                           this bankruptcy petition.




       Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
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Debtor 1         _______________________________________________________                                Case number (if known)_____________________________________
                 First Name       Middle Name             Last Name




Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12.   Are you a sole proprietor                 
                                                ✔ No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________        _______      __________________________
                                                          City                                                  State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above

                                                If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
13.   Are you filing under                      choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
      Chapter 11 of the                         are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
      are you a small business                  if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      debtor or a debtor as
                                                 No.    I am not filing under Chapter 11.
      defined by 11 U.S. C. §
      1182(1)?                                  
                                                ✔ No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                         the Bankruptcy Code.
      For a definition of small
      business debtor, see                       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
      11 U.S.C. § 101(51D).                              Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                                 Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                   Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
14.   Do you own or have any                    
                                                ✔ No
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property?




      Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                  page 4
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Debtor 1        _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                             
                                             ✔ I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
      cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.       I have a mental illness or a mental             Incapacity.      I have a mental illness or a mental
                                                                    deficiency that makes me                                          deficiency that makes me
                                                                    incapable of realizing or making                                  incapable of realizing or making
                                                                    rational decisions about finances.                                rational decisions about finances.
                                                 Disability.       My physical disability causes me                Disability.      My physical disability causes me
                                                                    to be unable to participate in a                                  to be unable to participate in a
                                                                    briefing in person, by phone, or                                  briefing in person, by phone, or
                                                                    through the internet, even after I                                through the internet, even after I
                                                                    reasonably tried to do so.                                        reasonably tried to do so.
                                                 Active duty.      I am currently on active military               Active duty.     I am currently on active military
                                                                    duty in a military combat zone.                                   duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




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Debtor 1         _______________________________________________________                                   Case number (if known)_____________________________________
                 First Name     Middle Name             Last Name




Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                        as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                      No. Go to line 16b.
                                                   
                                                   ✔   Yes. Go to line 17.

                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                   money for a business or investment or through the operation of the business or investment.
                                                      No. Go to line 16c.
                                                      Yes. Go to line 17.

                                              16c. State the type of debts you owe that are not consumer debts or business debts.
                                                   _______________________________________________________________

17.   Are you filing under
      Chapter 7?                              
                                              ✔ No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after               Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                           administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                                        No
      administrative expenses
      are paid that funds will be                         Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                   
                                              ✔ 1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                    50-99                                     5,001-10,000                           50,001-100,000
      owe?                                     100-199                                   10,001-25,000                          More than 100,000
                                               200-999
19.   How much do you                          $0-$50,000                               
                                                                                         ✔ $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to                  $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                                $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                          $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities                $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                   $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                              
                                              ✔ $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Pa rt 7 :      Sign Be low

                                              I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                       correct.
                                              If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                              of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                              under Chapter 7.
                                              If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                              this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                              I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                              I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                              with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                              18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                               /s/ Christopher Lee Weatherford
                                                 ______________________________________________               _____________________________
                                                 Signature of Debtor 1                                            Signature of Debtor 2

                                                                    05/26/2021
                                                 Executed on _________________                                    Executed on __________________
                                                                    MM   / DD   / YYYY                                          MM / DD     / YYYY




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                First Name     Middle Name             Last Name




                                             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are                to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                           available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                             the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented                   knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                             _________________________________
                                               /s/ Joyce Lindauer                                                Date          _________________
                                                                                                                                05/26/2021
                                                Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                                  Joyce Lindauer
                                                _________________________________________________________________________________________________
                                                Printed name

                                                  Joyce W. Lindauer Attorney, PLLC
                                                _________________________________________________________________________________________________
                                                Firm name

                                                 1412 Main Street
                                                _________________________________________________________________________________________________
                                                Number Street

                                                 Suite 500
                                                _________________________________________________________________________________________________

                                                 Dallas                                                          TX            75202
                                                ______________________________________________________ ____________ ______________________________
                                                City                                                    State        ZIP Code




                                                Contact phone 972-503-4033
                                                              ______________________________         Email address
                                                                                                                     joyce@joycelindauer.com
                                                                                                                      _________________________________________



                                                 21555700                                                        TX
                                                ______________________________________________________ ____________
                                                Bar number                                              State




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 Notice Required by 11 U.S.C. § 342(b) for
 Individuals Filing for Bankruptcy (Form 2010)


                                                                 Chapter 7:        Liquidation
  This notice is for you if:

        You are an individual filing for bankruptcy,                      $245     filing fee
         and                                                                $78     administrative fee
                                                                 +          $15     trustee surcharge
        Your debts are primarily consumer debts.
                                                                           $338     total fee
         Consumer debts are defined in 11 U.S.C.
         § 101(8) as “incurred by an individual                  Chapter 7 is for individuals who have financial
         primarily for a personal, family, or                    difficulty preventing them from paying their
         household purpose.”                                     debts and who are willing to allow their non-
                                                                 exempt property to be used to pay their
                                                                 creditors. The primary purpose of filing under
                                                                 chapter 7 is to have your debts discharged. The
 The types of bankruptcy that are                                bankruptcy discharge relieves you after
 available to individuals                                        bankruptcy from having to pay many of your
                                                                 pre-bankruptcy debts. Exceptions exist for
 Individuals who meet the qualifications may file                particular debts, and liens on property may still
 under one of four different chapters of the                     be enforced after discharge. For example, a
 Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                 mortgage or repossess an automobile.
        Chapter 7 — Liquidation
                                                                 However, if the court finds that you have
        Chapter 11 — Reorganization
                                                                 committed certain kinds of improper conduct
                                                                 described in the Bankruptcy Code, the court
        Chapter 12 — Voluntary repayment plan
                                                                 may deny your discharge.
                      for family farmers or
                      fishermen
                                                                 You should know that even if you file
                                                                 chapter 7 and you receive a discharge, some
        Chapter 13 — Voluntary repayment plan
                                                                 debts are not discharged under the law.
                      for individuals with regular
                                                                 Therefore, you may still be responsible to pay:
                      income
                                                                     most taxes;
 You should have an attorney review your                             most student loans;
 decision to file for bankruptcy and the choice of
                                                                     domestic support and property settlement
 chapter.
                                                                      obligations;




 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
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    most fines, penalties, forfeitures, and                     your income is more than the median income
     criminal restitution obligations; and                       for your state of residence and family size,
    certain debts that are not listed in your                   depending on the results of the Means Test, the
     bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                 creditors can file a motion to dismiss your case
 You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
 from:                                                           motion is filed, the court will decide if your
                                                                 case should be dismissed. To avoid dismissal,
    fraud or theft;
                                                                 you may choose to proceed under another
    fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
     of fiduciary capacity;
                                                                 If you are an individual filing for chapter 7
    intentional injuries that you inflicted; and
                                                                 bankruptcy, the trustee may sell your property
    death or personal injury caused by                          to pay your debts, subject to your right to
     operating a motor vehicle, vessel, or                       exempt the property or a portion of the
     aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
     drugs.                                                      property, and the proceeds from property that
                                                                 your bankruptcy trustee sells or liquidates that
 If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
 court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
 that you have enough income to repay                            home, a car, clothing, and household items or
 creditors a certain amount. You must file                       to receive some of the proceeds if the property
 Chapter 7 Statement of Your Current Monthly                     is sold.
 Income (Official Form 122A–1) if you are an
 individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
 chapter 7. This form will determine your                        property, you must list it on Schedule C: The
 current monthly income and compare whether                      Property You Claim as Exempt (Official Form
 your income is more than the median income                      106C). If you do not list the property, the
 that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                 to your creditors.
 If your income is not above the median for
 your state, you will not have to complete the
 other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
 Test Calculation (Official Form 122A–2).
                                                                          $1,167    filing fee
 If your income is above the median for your                     +          $571    administrative fee
 state, you must file a second form —the                                  $1,738    total fee
 Chapter 7 Means Test Calculation (Official
 Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
 sometimes called the Means Test—deduct                          business, but is also available to individuals.
 from your income living expenses and                            The provisions of chapter 11 are too
 payments on certain debts to determine any                      complicated to summarize briefly.
 amount available to pay unsecured creditors. If



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Read These Important Warnings


 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
 your property, you should hire an attorney and carefully consider all of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




 Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
             farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                 money that you owe them, usually using your
            $200   filing fee                                    future earnings. If the court approves your
 +           $78   administrative fee                            plan, the court will allow you to repay your
            $278   total fee
                                                                 debts, as adjusted by the plan, within 3 years or
                                                                 5 years, depending on your income and other
 Similar to chapter 13, chapter 12 permits
                                                                 factors.
 family farmers and fishermen to repay their
 debts over a period of time using future                        After you make all the payments under your
 earnings and to discharge some debts that are                   plan, many of your debts are discharged. The
 not paid.                                                       debts that are not discharged and that you may
                                                                 still be responsible to pay include:
                                                                     domestic support obligations,
 Chapter 13: Repayment plan for
                                                                     most student loans,
             individuals with regular
             income                                                  certain taxes,
                                                                     debts for fraud or theft,
           $235    filing fee                                        debts for fraud or defalcation while acting
 +          $78    administrative fee                                 in a fiduciary capacity,
           $313    total fee
                                                                     most criminal fines and restitution
                                                                      obligations,
 Chapter 13 is for individuals who have regular
 income and would like to pay all or part of                         certain debts that are not listed in your
 their debts in installments over a period of time                    bankruptcy papers,
 and to discharge some debts that are not paid.                      certain debts for acts that caused death or
 You are eligible for chapter 13 only if your                         personal injury, and
 debts are not more than certain dollar amounts                      certain long-term secured debts.
 set forth in 11 U.S.C. § 109.


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                                                                 A married couple may file a bankruptcy case
     Warning: File Your Forms on Time                            together—called a joint case. If you file a joint
                                                                 case and each spouse lists the same mailing
     Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
     requires that you promptly file detailed information
                                                                 bankruptcy court generally will mail you and
     about your creditors, assets, liabilities, income,
     expenses and general financial condition. The               your spouse one copy of each notice, unless
     court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
     not file this information within the deadlines set by       each spouse receive separate copies.
     the Bankruptcy Code, the Bankruptcy Rules, and
     the local rules of the court.

     For more information about the documents and                Understand which services you
     their deadlines, go to:                                     could receive from credit
     http://www.uscourts.gov/forms/bankruptcy-forms              counseling agencies

                                                                 The law generally requires that you receive a
                                                                 credit counseling briefing from an approved
                                                                 credit counseling agency. 11 U.S.C. § 109(h).
 Bankruptcy crimes have serious
                                                                 If you are filing a joint case, both spouses must
 consequences
                                                                 receive the briefing. With limited exceptions,
      If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
       assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
       under penalty of perjury—either orally or                 is usually conducted by telephone or on the
       in writing—in connection with a                           Internet.
       bankruptcy case, you may be fined,
       imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                 generally must complete a financial
       All information you supply in connection                 management instructional course before you
       with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
       examination by the Attorney General acting                case, both spouses must complete the course.
       through the Office of the U.S. Trustee, the
       Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
       offices and employees of the U.S.                         provide both the briefing and the instructional
       Department of Justice.                                    course from: http://www.uscourts.gov/services-
                                                                 forms/bankruptcy/credit-counseling-and-debtor-
 Make sure the court has your                                    education-courses.
 mailing address                                                 In Alabama and North Carolina, go to:
 The bankruptcy court sends notices to the                       http://www.uscourts.gov/services-
 mailing address you list on Voluntary Petition                  forms/bankruptcy/credit-counseling-and-
 for Individuals Filing for Bankruptcy (Official                 debtor-education-courses.
 Form 101). To ensure that you receive
                                                                 If you do not have access to a computer, the
 information about your case, Bankruptcy
                                                                 clerk of the bankruptcy court may be able to
 Rule 4002 requires that you notify the court of
                                                                 help you obtain the list.
 any changes in your address.


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                             United States Bankruptcy Court
                             Northern District of Texas




         Christopher Lee Weatherford
In re:                                                        Case No.

                                                              Chapter    11
                     Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              05/26/2021                        /s/ Christopher Lee Weatherford
Date:
                                                Signature of Debtor



                                                Signature of Joint Debtor
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Alford Green
c/o the Law Offices of Greg Gray
1012 Ridge Road
Rockwall, TX 75087


Alford Lee
c/o the Law Offices of Greg Gray
1012 Ridge Road
Rockwall, TX 75087


Apple Card/Gs Bank Usa
Lockbox 6112 Po Box 7247
Philadelphia, PA 19170


Attorney General of Texas
Bankruptcy Division
PO Box 12548
Austin, TX 78711-2540


Awa Collections
Po Box 6605
Orange, CA 92863


Cap1/Wmt
Po Box 31293
Salt Lake City, UT 84131


Cb/Vicscrt


Citi
Po Box 6217
Sioux Falls, SD 57117


Comenitybank/Victoria
Po Box 182789
Columbus, OH 43218


Credit Collection Serv
725 Canton St
Norwood, MA 02062


Fed Loan Serv
Po Box 60610
Harrisburg, PA 17106


Ford Motor Credit Comp
Po Box Box 542000
Omaha, NE 68154
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Forney Family Dentistry
108 E. Hwy 80
Forney, TX 75126


Frank Fleming
2929 Carlisle St
Dallas, TX 75204


Internal Revenue Service
Centralized Insolvery Operations
PO Box 7346
Philadelphia, DC 19101-7346


Internal Revenue Service
Mail Code DAL - 5020
1100 Commerce St
Dallas, TX 75242


IRS
IRS
Austin, TX 73301


Jpmcb Card
Po Box 15369
Wilmington, DE 19850


Linebarger, Goggan Blair & Samspson
2777 N. Stemmons Frwy
Suite 100
Dallas, TX 75207


Lowes
PO Box 530970
Atlanta, GA 30353


Pennymac Loan Services
6101 Condor Dr Ste 200
Moorpark, CA 93021


Syncb/Care Credit
950 Forrer Blvd
Kettering, OH 45420


Syncb/Lowes
Po Box 965005
Orlando, FL 32896
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Texas Comptroller Of Public Accts
Revenue Accting Div. - Banker Section
PO Box 13528
Austin, TX 78711-3528


Texas Workforce Commission
101 E 15th St
Austin, TX 78778-0001


US Attorney General
Dept of Justice/ Main Justice Bldg
10th & Constitution Ave NW
Washington, DC 20530-0001


Us Bank
Po Box 5227
Cincinnati, OH 45201


US Trustee Office
1100 Commerce ST
Room 976
Dallas, TX 75242


Wells Fargo Dealer Svc
Po Box 10709
Raleigh, NC 27605
